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 VII. REVIEW AND ANALYSIS OF ESTATE CAUSES OF ACTION IMPLICATED
 BY AFFILIATE TRANSACTIONS AND THE RELATIONSHIP AND COURSE OF
 DEALING AMONG RESCAP, AFI, ALLY BANK, AND CERBERUS
 I. CONSTRUCTIVE TRUST CLAIMS
      1. Introduction
      Wilmington Trust argues that a constructive trust should be imposed on (1) ResCap’s
 interest in the “mortgage division” of Ally Bank, which AFI allegedly obtained by violating a
 “confidential relationship” with ResCap; and (2) proceeds of TARP funds that AFI received
 by virtue of its relationship to ResCap.1 This Section examines the merits of constructive trust
 claims against AFI.
                a. Unjust Enrichment And Constructive Trust
      Unjust enrichment is an equitable doctrine that permits courts to infer the existence of an
 implied contract to prevent an entity that has obtained a benefit from another from unjustly
 enriching itself at the other party’s expense.2
       A constructive trust is an equitable device a court may impose when the holder of legal
 title to property acquired the property under such circumstances that the holder “in good
 conscience” should not be allowed to retain it.3 A claim for constructive trust is a remedy,
 often to a corresponding allegation of unjust enrichment.4 When a constructive trust is
 imposed, the holder becomes a trustee, holding the property for the benefit of the plaintiff.5
 When considering such equitable relief, however, a court is constrained by two considerations:
 (1) the property must be discernible and traceable to the plaintiff; and (2) the requested relief
 may not be in lieu of damages—a constructive trust is only available to prevent the title holder
 1   In addition, Wilmington Trust asserts that AFI was unjustly enriched by the implementation of the Second
     2009 Tax Allocation Agreement. For the reasons set forth in Section VII.K, the Examiner concludes that
     ResCap would not be entitled to seek equitable remedies against AFI, including a claim based on unjust
     enrichment, in connection with the Second 2009 Tax Allocation Agreement.
 2   See IDT Corp. v. Morgan Stanley Dean Witter & Co., 907 N.E.2d 268, 274 (N.Y. 2009) (“[Unjust enrichment]
     is an obligation imposed by equity to prevent injustice, in the absence of an actual agreement between the
     parties concerned.”); see also Newbro v. Freed, 409 F. Supp. 2d 386, 398 (S.D.N.Y. 2006) (alteration in
     original) (citation omitted) (noting “a cause of action for unjust enrichment arises when one party possesses
     money . . . that in equity and good conscience they should not have obtained or possessed because it rightfully
     belongs to another”).
 3   Simonds v. Simonds, 380 N.E.2d 189, 193 (N.Y. 1978) (citing Beatty v. Guggenheim Exploration Co., 122
     N.E. 378, 380 (N.Y. 1919)); see also RESTATEMENT (FIRST) OF RESTITUTION § 160 (1937) (“Where a person
     holding title to property is subject to an equitable duty to convey it to another on the ground that he would be
     unjustly enriched if he were permitted to retain it, a constructive trust arises.”).
 4   Counihan v. Allstate Ins. Co., 194 F.3d 357, 361 (2d Cir. 1999) (citation omitted) (“A constructive trust is an
     equitable remedy, necessarily flexible to accomplish its purpose. Its purpose is to prevent unjust enrichment . . . .”).
 5   F.T.C. v. Bronson Partners, LLC, 654 F.3d 359, 373 (2d Cir. 2011) (“Tracing is necessary where a private
     plaintiff seeks to impose a constructive trust, because liability is premised on the fiction that the victim at all
     times retained title to the property in question, which the defendant merely holds in trust for him.”); see also
     Healy v. Comm’r, 345 U.S. 278, 282 (1953) (“A constructive trust is a fiction imposed as an equitable device
     for achieving justice.”).

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 from being unjustly enriched, not to provide a second avenue to an award otherwise available
 under a breach of contract claim.6 Under certain circumstances, a plaintiff may be awarded the
 property as well as any profits earned from it.7

                b. Choice Of Law

      In the Second Circuit, the choice of law rules of the forum state will apply to claims
 premised on state law, unless state law would conflict with a federal policy or interest.8 The
 Examiner concludes that it is likely that New York choice of law rules will apply to claims of
 unjust enrichment or constructive trust because of: (1) the apparent absence of any federal
 interest;9 (2) the pendency of the Chapter 11 Cases in the Southern District of New York; and
 (3) the similarity between New York law and the corresponding laws of the other related
 jurisdictions, Delaware,10 Michigan,11 Minnesota,12 and Pennsylvania.13
 6    Bronson Partners, LLC, 654 F.3d at 373 (comparing constructive trust (requiring tracing) to the government’s
      right to disgorgement (where no tracing is required)); see also United States v. Benitez, 779 F.2d 135, 140 (2d
      Cir. 1985) (tracing required); Superintendent of Ins. v. Ochs (In re First Cent. Fin. Corp.), 377 F.3d 209, 213
      (2d Cir. 2004) (determining that the existence of a valid and enforceable contract precludes the imposition of a
      constructive trust); Petrello v. White, 412 F. Supp. 2d 215, 232–33 (E.D.N.Y. 2006) (same), aff’d, 344 F.
      App’x 651 (2d Cir. 2009). Constructive trusts lack the element of intent that is found in express or resulting
      trusts. See, e.g., Healy, 345 U.S. at 282–83; Conn. Res. Recovery Auth. v. Enron Corp. (In re Enron Corp.),
      No. 01 B 16034(AJG), 2003 WL 1571719, at *5 (Bankr. S.D.N.Y. Mar. 27, 2003), aff’d, No. 01-16034 (AJG),
      2004 WL 726088 (S.D.N.Y. Apr. 2, 2004).
 7    Great-W. Life & Annuity Ins. Co. v. Knudson, 534 U.S. 204, 214, n.2 (2002). The rules requiring the plaintiff
      to be able to trace property to a specific res does not apply to profits. Id. (emphasis added).
 8    Bianco v. Erkins (In re Gaston & Snow), 243 F.3d 599, 601–02 (2d Cir. 2001) (“[B]ankruptcy courts
      confronting state law claims that do not implicate federal policy concerns should apply the choice of law rules
      of the forum state.”). If a claim before a bankruptcy court were “already pending in a parallel, out-of-state,
      non-bankruptcy proceeding” that was filed before the bankruptcy petition, the bankruptcy court “should apply
      the choice of law rules of the state where the underlying prepetition claim was filed.” Statek Corp. v. Dev.
      Specialists, Inc. (In re Coudert Bros. LLP), 673 F.3d 180, 182 (2d Cir. 2012).
 9    In re Gaston & Snow, 243 F.3d at 606 (explaining that the federal common law applies only in very limited
      circumstances where “a significant conflict between some federal policy or interest and the use of state law
      [is] specifically shown”) (quoting Atherton v. F.D.I.C., 519 U.S. 213, 218 (1997)).
 10   AFI, GMAC Mortgage, ResCap, and RFC are all domiciled in Delaware.
 11   AFI’s principal place of business is located in Michigan. See General Motors Acceptance Corporation, Annual
      Report (Form 10-K) (Mar. 28, 2006), at 9; GMAC LLC, Annual Report (Form 10-K) (Mar. 13, 2007), at 11;
      GMAC LLC, Annual Report (Form 10-K) (Feb. 27, 2008), at 14.
 12   The principal place of business for both ResCap and RFC is Minnesota. See Residential Capital Corporation,
      Annual Report (Form 10-K) (Mar. 28, 2006), at 3, 46; Residential Capital, LLC, Annual Report (Form 10-K)
      (Mar. 13, 2007), at 3; Residential Capital, LLC, Annual Report (Form 10-K) (Feb. 27, 2008), at 1, 4;
      Residential Capital, LLC, Annual Report (Form 10-K) (Feb. 26, 2009), at 1, 4.
 13   GMAC Mortgage’s principal place of business is in Pennsylvania. See GMAC LLC, Annual Report (Form 10-
      K) (Feb. 27, 2008), at 14; GMAC LLC, Annual Report (Form 10-K) (Feb. 26, 2009), at 21; GMAC Inc.,
      Annual Report (Form 10-K) (Mar. 1, 2010), at 22; Ally Financial Inc., Annual Report (Form 10-K) (Feb. 25,
      2011), at 29; Ally Financial Inc., Annual Report (Form 10-K) (Feb. 28, 2012), at 26.

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       In New York, “[t]he first step in any case presenting a potential choice of law issue is to
 determine whether there is an actual conflict between the laws of the jurisdictions involved”;14
 if the laws of the relevant jurisdictions are substantively the same, a court may dispense with
 the choice of law analysis.15 Because there is no material difference between the unjust
 enrichment and constructive trust laws of New York16 and those of Delaware,17 Michigan,18




 14   Curley v. AMR Corp., 153 F.3d 5, 12 (2d Cir. 1998) (citing Matter of Allstate Ins. Co. (Stolarz), 613 N.E.2d
      936, 937 (N.Y. 1993).
 15   See Curley, 153 F.3d at 12 (citing J. Aron & Co. v. Chown, 647 N.Y.S.2d 8, 8 (N.Y. App. Div. 1996)) (“It is only
      when it can be said that there is no actual conflict that New York will dispense with a choice of law analysis.”).
      “An actual conflict is present “[w]here the applicable law from each jurisdiction provides different substantive
      rules . . . .” Curley, 153 F.3d at 12.
 16   In New York, a plaintiff asserting an unjust enrichment claim must establish “(1) that the defendant
      benefitted; (2) at the plaintiff’s expense; and (3) that equity and good conscience require restitution.” Tasini v.
      AOL, Inc., 851 F. Supp. 2d 734, 739 (S.D.N.Y. 2012) (quoting In re Mid-Island Hosp., Inc., 276 F.3d 123,
      129–30 (2d Cir. 2002)), aff’d, No. 12-1428-cv, 2012 WL 6176559 (2d Cir. Dec. 12, 2012). A “‘plaintiff need
      not be in privity with the defendant to state a claim for unjust enrichment,’ [but] there must exist a relationship
      or connection between the parties that is not too ‘attenuated.’” Georgia Malone & Co., Inc. v. Rieder, 973
      N.E.2d 743, 746 (N.Y. 2012) (quoting Sperry v. Crompton Corp., 863 N.E.2d 1012, 1018 (N.Y. 2007)).
      Before imposing a constructive trust, New York courts will look at whether there is “(1) a confidential or
      fiduciary relationship, (2) a promise, (3) a transfer in reliance thereon and (4) unjust enrichment.” Sharp v.
      Kosmalski, 351 N.E.2d 721, 723 (N.Y. 1976) (citations omitted). This is a flexible standard, however, and not
      all elements must be satisfied for an unjust enrichment claim to stand. See Tekinsight.Com, Inc. v. Stylesite
      Mktg., Inc. (In re Stylesite Mktg., Inc.), 253 B.R. 503, 508 (Bankr. S.D.N.Y. 2000); see also Marini v.
      Lombardo, 912 N.Y.S.2d 693, 696 (N.Y. App. Div. 2010) (noting that because the “elements serve only as a
      guideline, a constructive trust may still be imposed even if all of the elements are not established”).
 17   In Delaware, unjust enrichment requires: “(1) an enrichment, (2) an impoverishment, (3) a relation between
      the enrichment and the impoverishment, (4) the absence of justification, and (5) the absence of a remedy
      provided by law.” Jackson Nat’l Life Ins. Co. v. Kennedy, 741 A.2d 377, 393 (Del. Ch. 1999) (citation
      omitted). The imposition of a constructive trust in Delaware is proper “when ‘a defendant’s fraudulent, unfair
      or unconscionable conduct causes him to be unjustly enriched at the expense of another to whom he owed
      some duty.’” Id. at 393–94 (quoting Dodge v. Wilmington Trust Co., No. 1257-K, 1995 Del. Ch. LEXIS 26, at
      *21, (Del. Ch. Feb. 3, 1995)); see also O’Toole v. Karnani (In re Trinsum Grp., Inc.), 460 B.R. 379, 395
      (Bankr. S.D.N.Y. 2011) (“The elements for unjust enrichment claims under Delaware law are similar to that
      of New York law.”).
 18   “Under Michigan law, the elements of an unjust enrichment claim are ‘(1) the receipt of a benefit by
      defendant from plaintiff, and (2) an inequity resulting to plaintiff because of the retention of the benefit by the
      defendant.’” Ajuba Int’l, L.L.C. v. Saharia, 871 F. Supp. 2d 671, 692 (E.D. Mich. 2012) (citation omitted). “A
      constructive trust may be imposed where such trust is necessary to do equity or to prevent unjust enrichment.”
      Kammer Asphalt Paving Co., Inc. v. E. China Twp. Schs., 504 N.W.2d 635, 641 (Mich. 2006) (citations
      omitted). A constructive trust will be imposed “where a person occupies a fiduciary relationship as agent for
      another, and thereby gains something for himself which in equity and good conscience he should not be
      permitted to keep . . . .” MacKenzie v. Fritzinger, 121 N.W.2d 410, 414 (Mich. 1963) (citations omitted).

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 Minnesota,19 and Pennsylvania,20 the Bankruptcy Court could apply New York unjust
 enrichment and constructive trust jurisprudence without engaging in extensive analysis.

                     (1) New York Unjust Enrichment Law

      To bring a claim for unjust enrichment under New York law, a plaintiff must demonstrate
 by a preponderance of the evidence21 “(1) that the defendant benefitted, (2) at the plaintiff’s
 expense, and (3) that equity and good conscience require restitution.”22 The claim for unjust
 enrichment is quasi-contractual,23 and courts have noted that “[t]he essential inquiry in any
 action for unjust enrichment . . . is whether it is against equity and good conscience to permit



 19   “To establish [an unjust enrichment] claim under Minnesota law, a plaintiff must demonstrate ‘that another
      party knowingly received something of value to which he was not entitled, and that the circumstances are such
      that it would be unjust for that person to retain the benefit.’” T.B. Allen & Assocs., Inc. v. Euro-Pro Operating
      LLC, No. 11-3479 (JRT/JSM), 2012 WL 2508021, at *3 (D. Minn. June 28, 2012) (citation omitted). Under
      Minnesota law, a court may impose a constructive trust in cases that “involve fraud, taking improper
      advantage of a confidential or fiduciary relationship, or unjust enrichment.” Kunkel v. Ries (In re Morken),
      199 B.R. 940, 964 n.35 (Bankr. D. Minn. 1996) (citation omitted).
 20   “Under Pennsylvania law, a showing of unjust enrichment requires a plaintiff to prove that it: (1) conferred a
      benefit on the defendant; (2) such benefit was known and was retained or accepted by the defendant; and (3) it
      would be inequitable to allow the defendant to retain such benefit.” Am. Fed’n of State, Cnty. & Mun. Emps. v.
      Cephalon (In re Actiq Sales and Mktg. Practices Litig.), 790 F. Supp. 2d 313, 329 (E.D. Pa. 2011) (footnote
      omitted); see also Ainbinder v. Potter, 282 F. Supp. 2d 180, 184 n.3 (S.D.N.Y. 2003) (applying New York law
      where the defendant sought the application of Pennsylvania law, but “readily admit[ted] that the Court need
      not resolve the choice-of-law issue to rule on the motions to dismiss because there is no material difference
      between New York and Pennsylvania law with respect to claims of breach of contract, unjust enrichment, and
      fraud”).
      “The Supreme Court of Pennsylvania has said that the need for a constructive trust arises where a person who
      holds title to property is subject to an equitable duty to convey it to another on the ground that [the holder]
      would be unjustly enriched if he were permitted to retain it.” Kontonotas v. Hygrosol Pharm. Corp., No. 07-
      4989, 2009 WL 1734223, at *4 (E.D. Pa. June 16, 2009) (citing Balazick v. Ireton, 541 A.2d 1130, 1133 (Pa.
      1988)). “The necessity for such a trust may arise from circumstances evidencing fraud, duress, undue
      influence or mistake. The controlling factor in determining whether a constructive trust should be imposed is
      whether it is necessary to prevent unjust enrichment.” Nagle v. Nagle, 799 A.2d 812, 819 (Pa. Super. Ct.
      2002) (citations omitted).
 21   Newman v. Herbst, No. 09-cv-4313 (TLM), 2011 WL 684165, at *6 (E.D.N.Y. Feb. 15, 2011) (citation
      omitted) (noting that a claim for unjust enrichment must be proven “by a preponderance of the evidence”).
 22   Tasini v. AOL, Inc., 851 F. Supp. 2d 734, 739 (S.D.N.Y. 2012) (citations omitted), aff’d, No. 12-1428-cv,
      2012 WL 6176559 (2d Cir. Dec. 12, 2012); see also Khreativity Unlimited v. Mattel, Inc., 101 F. Supp. 2d
      177, 184 (S.D.N.Y. 2000) (citation omitted) (“In order to sustain a claim for unjust enrichment, plaintiff must
      demonstrate that (1) defendants were enriched; (2) such enrichment was at plaintiff’s expense; and (3) under
      the circumstances it would be unjust not to compensate plaintiff.”), aff’d sub nom., 242 F.3d 366 (2d Cir.
      2000).
 23   See, e.g., Diesel Props S.r.l. v. Greystone Bus. Credit II LLC, 631 F.3d 42, 54 (2d Cir. 2011) (citations
      omitted) (“The theory of unjust enrichment lies as a quasi-contract claim. It is an obligation the law creates in
      absence of an agreement.”).

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 the defendant to retain what is sought to be recovered.”24 Thus, a plaintiff that cannot show
 “some expectation of compensation that was denied” cannot recover on an unjust enrichment
 claim under New York law.25

      Nor can a plaintiff prevail on an unjust enrichment claim if the subject matter of the
 dispute is governed by an enforceable written contract between the parties.26 Unjust
 enrichment is intended to remedy a wrong that contract law would otherwise address if a
 contract existed. If, on the other hand, a contract exists and damages are or could have been
 available to the plaintiff, equitable relief is precluded.27 Similarly, a plaintiff cannot rely on an
 unjust enrichment claim to address a breach of an obligation imposed by law, as opposed to an




 24   Tasini, 851 F. Supp. 2d at 739–40 (omission in original) (quoting Dragon Inv. Co. II LLC v. Shanahan, 854
      N.Y.S.2d 115, 118 (N.Y. App. Div. 2008)).
 25   See id. at 741 (concluding that “under New York law, a plaintiff must plead some expectation of
      compensation that was denied in order to recover under a theory of unjust enrichment”). But see Gidatex,
      S.r.L. v. Campaniello Imps., Ltd., 49 F. Supp. 2d 298, 302–03 (S.D.N.Y. 1999) (concluding that expectation of
      compensation is not required to prevail on unjust enrichment claim). Subsequent decisions have been critical
      of the court’s reasoning in Gidatex. See Tasini, 851 F. Supp. 2d at 740 n.3 (“The opinion in Gidatex is
      contrary to the great majority of well-reasoned cases. It is also contrary to the subsequent clear statement by
      the Court of Appeals for the Second Circuit . . . .”).
 26   See Belleza Fruit, Inc. v. Suffolk Banana Co., Inc., No. CV-12-3033(SJF)(WDW), 2012 WL 2675066, at *14
      (E.D.N.Y. July 5, 2012) (citations omitted) (“It is impermissible . . . to seek damages in an action sounding in
      quasi-contract where the suing party has fully performed on a valid written agreement, the existence of which
      is undisputed, and the scope of which clearly covers the dispute between the parties.”); IDT Corp. v. Morgan
      Stanley Dean Witter & Co., 907 N.E.2d 268, 274 (N.Y. 2009) (citation omitted) (“Where the parties executed
      a valid and enforceable written contract governing a particular subject matter, recovery on a theory of unjust
      enrichment for events arising out of that subject matter is ordinarily precluded.”).
 27   See Goldman v. Met. Life Ins. Co., 841 N.E.2d 742, 746 (N.Y. 2005) (holding that under New York law,
      equitable remedies are inappropriate when remedies at law are available under an existing contract); Petrello
      v. White, 412 F. Supp. 2d 215, 233 (E.D.N.Y. 2006) (citations omitted) (“New York Courts and the Second
      Circuit have consistently held ‘that the existence of a written agreement precludes a finding of unjust
      enrichment.’”), aff’d, 344 F. App’x 651 (2d Cir. 2009).

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 obligation arising from the receipt of an unjustly retained benefit.28 Because unjust enrichment
 claims are quasi-contractual claims, a defendant has an array panoply of defenses and may
 assert the in pari delicto defense29 against unjust enrichment claims.30

                     (2) New York Constructive Trust Law

      In New York, a court may impose a constructive trust to remedy unjust enrichment.31 In
 New York, as in other jurisdictions, a constructive trust, like unjust enrichment, is analogous
 to a “quasi-contractual” obligation.32 Four elements generally must be satisfied to support the
 imposition of a constructive trust: “(1) a confidential or fiduciary relationship, (2) a promise,
 (3) a transfer in reliance thereon, and (4) unjust enrichment.”33 These elements, however, are
 not “talismanic,” and New York “courts have held that a constructive trust can be imposed in
 the absence of some of these factors.”34


 28   See Bessette v. Avco Fin. Servs., Inc., 230 F.3d 439, 447 (1st Cir. 2000) (finding that breach of obligations
      under section 524 of the Bankruptcy Code does not give rise to unjust enrichment claim); Pacamor Bearings,
      Inc. v. Minebea Co., Ltd., 892 F. Supp. 347, 356–57 (D.N.H. 1995) (determining that claims under Lanham
      Act and state unfair competition statutes do not give rise to unjust enrichment claims).
 29   The in pari delicto defense dictates that “[i]n a case of equal or mutual fault . . . the position of the [defending]
      party . . . is the better one.” Bateman Eichler, Hill Richards, Inc. v. Berner, 472 U.S. 299, 306
      (1985) (alterations in original). The doctrine prevents a plaintiff from asserting “a claim against a defendant if
      the plaintiff bears fault for the claim.” Official Comm. of Unsecured Creditors v. R.F. Lafferty & Co., 267
      F.3d 340, 354 (3d Cir. 2001) (citations omitted). In the Second Circuit, a defendant may also be able to assert
      the “Wagoner rule.” See Shearson Lehman Hutton, Inc. v. Wagoner, 944 F.2d 114 (2d Cir. 1991). Under the
      Wagoner rule, “a plaintiff acting on behalf of a debtor cannot sue an outside professional or other third party
      for damages for which the corporation itself can be held responsible.” Official Comm. of Unsecured Creditors
      v. Am. Tower Corp. (In re Verestar, Inc.), 343 B.R. 444, 478 (Bankr. S.D.N.Y. 2006).
 30   See Globaltex Grp. Ltd. v. Trends Sportswear Ltd., No. 09–CV–0235, 2010 WL 1633438, at *4 (E.D.N.Y.
      Apr. 21, 2010) (“In pari delicto is applicable to claims of breach of contract, unjust enrichment, conversion,
      rescission, or damages in tort.”). But see Picard v. Madoff (In re Bernard L. Madoff Inv. Sec. LLC), 468 B.R.
      620, 633 (Bankr. S.D.N.Y. 2012) (noting the lack of case law on “whether in pari delicto applies to transfers
      to a non-insider that were joint and simultaneous with transfers to an insider”).
 31   See, e.g., Counihan v. Allstate Ins. Co., 194 F.3d 357, 361 (2d Cir. 1999) (noting that constructive trust in
      New York is designed to “prevent unjust enrichment”).
 32   See Equity Corp. v. Groves, 60 N.E.2d 19, 21 (N.Y. 1945) (A constructive trust “is analogous to a ‘quasi-
      contractual obligation’ . . . .”); see also Superintendent of Ins. v. Ochs (In re First Cent. Fin. Corp.), 377 F.3d
      209, 214 (2d Cir. 2004) (citation omitted) (noting that “the principles that apply to quasi-contractual remedies
      also apply to constructive trusts”).
 33   Sharp v. Kosmalski, 351 N.E.2d 721, 723 (N.Y. 1976) (citations omitted).
 34   Lines v. Bank of Am. Nat’l Trust & Sav. Ass’n, 743 F. Supp. 176, 180 (S.D.N.Y. 1990) (citations omitted); see
      also Tekinsight.Com, Inc. v. Stylesite Mktg., Inc. (In re Stylesite Mktg., Inc.), 253 B.R. 503, 508 (Bankr.
      S.D.N.Y. 2000) (citations omitted) (“Notwithstanding the stated requirements, the remedy is a flexible one,
      and the facts need not satisfy every element in all cases.”); Marini v. Lombardo, 912 N.Y.S.2d 693, 696 (N.Y.
      App. Div. 2010) (citations omitted) (noting that because the “elements serve only as a guideline, a
      constructive trust may still be imposed even if all of the elements are not established”).

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      “Most frequently, it is the existence of a confidential relationship which triggers the
 equitable consideration leading to the imposition of a constructive trust.”35 In New York, a
 fiduciary relationship exists where a person “is under a duty to act for or to give advice for the
 benefit of another upon matters within the scope of the relation.”36 Parties to an arm’s-length
 transaction, however, are not fiduciaries,37 and parent corporations are not fiduciaries to their
 wholly-owned subsidiaries.38

       A court may still impose a constructive trust even in the absence of a fiduciary
 relationship. As an equitable claim and a remedy, courts do not require “strict adherence to the
 confidential or fiduciary relationship element of a constructive trust,” describing it as “not
 necessary when a party holds property under circumstances that in equity and good conscience
 [it] ought not retain.”39 Thus, even under New York law, a constructive trust may be imposed
 irrespective of the parties’ relationship.40

     The imposition of a constructive trust generally requires an express or implied promise.41
 A promise may be inferred from the circumstances, including arising from the nature of the



 35   See Sharp, 351 N.E.2d at 723 (citations omitted).
 36   Boccardi Capital Sys., Inc. v. D.E. Shaw Laminar Portfolios, L.L.C., 355 F. App’x 516, 519 (2d Cir. 2009)
      (citation omitted); see also Trumpet Vine Invs., N.V. v. Union Capital Partners I, Inc., 92 F.3d 1110, 116–17
      (11th Cir. 1996) (citations omitted) (applying New York law).
 37   See Beneficial Commercial Corp. v. Murray Glick Datsun, Inc., 601 F. Supp. 770, 772 (S.D.N.Y. 1985)
      (citations omitted) (noting that “courts have rejected the proposition that a fiduciary relationship can arise
      between parties to a business transaction”); Oursler v. Women’s Interart Ctr., Inc., 566 N.Y.S.2d 295, 297
      (N.Y. App. Div. 1991) (citation omitted) (“A conventional business relationship, without more, does not
      become a fiduciary relationship by mere allegation.”).
 38   See Official Comm. of Unsecured Creditors v. Bay Harbour Master Ltd. (In re BH S&B Holdings LLC), 420
      B.R. 112, 144 (Bankr. S.D.N.Y. 2009) (alteration in original) (citation omitted) (noting that “[p]arent
      corporations do not owe [wholly owned] subsidiaries fiduciary duties”), aff’d, 807 F. Supp. 2d 199 (S.D.N.Y.
      2011). “Although it is said in general terms that a parent corporation owes a fiduciary obligation to its
      subsidiaries, this obligation does not arise as such unless the subsidiary has minority stockholders.” 420 B.R.
      at 144 (quoting Trenwick Am. Lit. Trust v. Ernst & Young LLP, 906 A.2d 168, 173 (Del. Ch. 2006)).
 39   Petrello v. White, 412 F. Supp. 2d 215, 232 (E.D.N.Y. 2006) (citing Sec. Pac. Mortg. & Real Estate Servs.,
      Inc. v. Republic of Philippines, 962 F.2d 204, 210 (2d Cir. 1992)), aff’d, 344 F. App’x 651 (2d Cir. 2009).
 40   See Tekinsight.Com, Inc. v. Stylesite Mktg., Inc. (In re Stylesite Mktg., Inc.), 253 B.R. 503, 508 (Bankr.
      S.D.N.Y. 2000) (citation omitted) (noting that “a court may impose a constructive trust in the absence of a
      fiduciary relationship . . .”); see also Pfohl Bros. Landfill Site Steering Comm. v. Allies Waste Sys., Inc., 255 F.
      Supp. 2d 134 (W.D.N.Y. 2003) (imposing constructive trust on dividends paid to parent corporation in
      connection with liquidation of subsidiary).
 41   See Brand v. Brand, 811 F.2d 74, 78 (2d Cir. 1987) (noting that “[t]he second element of a constructive trust
      is the making of a promise,” and that such promise may be express or implied). The Brand court noted:
      “Indeed, silence itself ‘in the presence of conditional assertions may constitute tacit consent and promise to
      comply with the conditions.’” Id. (citing Farano v. Stephanelli, 183 N.Y.S.2d 707, 712 (N.Y. App. Div.
      1959)).

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 relationship the between plaintiff and the party holding the property.42 Although a transfer is
 one of the enumerated elements for a constructive trust, courts have noted that this element is
 not absolutely essential to the imposition of a constructive trust.43 “[U]njust enrichment[,
 however,] is the backbone of a constructive trust claim,” and without a showing of unjust
 enrichment, courts are reluctant to impose a constructive trust.44 Given that a constructive trust
 is designed to address a gap that could be remedied by a contract if one existed, a court also
 will not impose a constructive trust if an enforceable contract governs the parties’
 relationship.45 Moreover, a court will impose a constructive trust only if the plaintiff
 demonstrates that the property is in the defendant’s possession, and can be traced.46

      While the burden is on the plaintiff to prove the necessity of a constructive trust, New
 York courts are divided as to the standard of proof. Some courts have concluded that a
 plaintiff must demonstrate the facts justifying the imposition of a constructive trust by clear




 42   See Brand, 811 F.2d at 78. Constructive trusts are often imposed in family disputes over property, because the
      law recognizes certain familial relationships as confidential (i.e., between spouses, parent/child, etc.), and
      property may be transferred among family members with promises or conditions attached. See, e.g., Farano,
      183 N.Y.S.2d at 712 (daughters purportedly refuse to return property to father upon request, as promised at
      the time of the conveyance). These types of cases have less application to the dispute here, where the property
      changed hands as part of a business transaction, and subject to a contract.
 43   See Moak v. Raynor, 814 N.Y.S.2d 289, 291 (N.Y. App. Div. 2006) (citation omitted) (noting that “courts
      have extended the transfer element to include instances where funds, time and effort were contributed in
      reliance on a promise to share in some interest in property, even though no transfer actually occurred”). This
      may be relevant to whether a constructive trust could be imposed with regard to AFI’s receipt of TARP funds
      from the U.S. Treasury. No transfer from ResCap occurred; therefore, it would need to be shown that ResCap
      had a right to share in the TARP proceeds.
 44   Petrello, 412 F. Supp. 2d at 232; see Superintendent of Ins. v. Ochs (In re First Cent. Fin. Corp.), 377 F.3d
      209, 212 (2d Cir. 2004) (noting that “[t]he fourth element is the most important”); LFD Operating, Inc. v.
      Ames Dep’t Stores, Inc. (In re Ames Dep’t Stores, Inc.), 274 B.R. 600, 626 (Bankr. S.D.N.Y. 2002) (citation
      omitted) (“Despite the elasticity of the doctrine, the prevention of unjust enrichment remains the key
      requirement for a constructive trust.”), aff’d sub nom., No. 02 Civ. 6271(SHS), 2004 WL 1948754 (S.D.N.Y.
      Sept. 1, 2004), aff’d sub nom., 144 F. App’x 900 (2d Cir. 2005).
 45   See In re First Cent. Fin. Corp., 377 F.3d at 213 (holding that valid and enforceable contract precludes
      constructive trust); Petrello, 412 F. Supp. 2d at 233 (holding that because there was a valid, enforceable
      contract, “as a matter of law, the Court cannot impose a constructive trust”).
 46   See United States v. Benitez, 779 F.2d 135, 140 (2d Cir. 1985) (citation omitted) (“It is hornbook law that
      before a constructive trust may be imposed, a claimant to a wrongdoer’s property must trace his own property
      into a product in the hands of a wrongdoer.”); see also United States v. Peoples Benefit Life Ins. Co., 271 F.3d
      411, 416 (2d Cir. 2001).

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 and convincing evidence,47 while other courts have held that a preponderance of the evidence
 will suffice.48 A defendant may defeat a constructive trust claim by demonstrating the
 plaintiff’s unclean hands.49

                c. Statute Of Limitations

      Whatever substantive law the Bankruptcy Court applies to claims for unjust enrichment
 or constructive trust, New York’s choice of law rules will decide the applicable statute of
 limitations.50 When a nonresident sues in New York on a cause of action that accrued outside
 of New York, the New York “borrowing statute” requires the cause of action to be timely in
 New York as well as in the jurisdiction where the cause of action accrued.51 As such, a New
 York court will apply the shorter of the two states’ applicable statutes of limitations, if
 different, and New York’s statute of limitations if they are the same.52

     If the injury alleged is “purely economic,” the cause of action is deemed to have accrued
 “where the plaintiff resides and sustain[ed] the economic impact of the loss.”53 Courts in the
 Second Circuit have “consistently held that a business entity’s residence is determined by its
 47   See, e.g., SEC v. Credit Bancorp, Ltd., 138 F. Supp. 2d 512, 532–33 (S.D.N.Y. 2001) (citations omitted) (“The
      claimant to a constructive trust must establish the facts giving rise to the trust by clear and convincing
      evidence.”), rev’d on other grounds, 297 F.3d 127 (2d Cir. 2002); LFD Operating Inc. v. Ames Dep’t Stores,
      Inc. (In re Ames Dep’t Stores, Inc.), 274 B.R. 600, 626 (Bankr. S.D.N.Y. 2002) (citation omitted).
 48   See, e.g., Beacher v. Estate of Beacher, 756 F. Supp. 2d 254, 276 (E.D.N.Y. 2010) (“The proper burden of
      proof in this civil action seeking equitable relief is by ‘a preponderance of the credible evidence.’”).
 49   See Barbieri v. Barbieri (In re Barbieri), 380 B.R. 284, 296–99 (Bankr. E.D.N.Y. 2007) (noting that equitable
      considerations of waiver, laches, and unclean hands can preclude constructive trust). “Whenever a party seeks
      to invoke the court’s equitable powers, the party’s claims are subject to any applicable equitable defenses.” Id.
      At 296 (citing British Columbia Inv. Co. v. Fed. Deposit Ins. Corp., 420 F. Supp. 1217, 1222 (S.D. Cal.
      1976)). In one case, a court regarded “‘clean hands,’ ‘unclean hands’ and ‘in pari delicto’ as alternative ways
      of saying the same thing.” Adelphia Commc’ns Corp. v. Bank of Am. (In re Adelphia Commc’ns Corp.), 365
      B.R. 24, 47 n.75 (Bankr. S.D.N.Y. 2007).
 50   See, e.g., Official Comm. of Asbestos Claimants of G-I Holding, Inc. v. Heyman, 277 B.R. 20, 30 (S.D.N.Y.
      2002); In re Adelphia, 365 B.R. at 57 n.136 (citation omitted) (“Where, as here, the Court is exercising
      bankruptcy jurisdiction over state law claims under 28 U.S.C. § 1334(b), the court applies the choice of law
      rules of the forum state to determine the applicable statute of limitations.”).
 51   See N.Y. C.P.L.R. § 202 (“An action based upon a cause of action accruing without the state cannot be
      commenced after the expiration of the time limited by the laws of either the state or the place without the state
      where the cause of action accrued, except that where the cause of action accrued in favor of a resident of the
      state the time limited by the laws of the state shall apply.”).
 52   Global Fin. Corp. v. Triarc Corp., 715 N.E.2d 482, 484 (N.Y. 1999); see also In re Adelphia, 365 B.R. at
      57–58. In the context of a bankruptcy, the court may apply a foreign state’s longer statute of limitations with
      regard to a prepetition claim that was filed in the foreign state. Statek Corp. v. Dev. Specialists, Inc. (In re
      Coudert Bros. LLP), 673 F.3d 180, 191 (2d Cir. 2012).
 53   Global Fin., 715 N.E.2d at 485.

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 principal place of business” rather than the state of incorporation, under CLPR 202.54
 Residency is determined at the date that the action accrued, so the relevant inquiry for CPLR
 202 purposes is where an entity’s principal place of business was located when the claim
 accrued.55 When a bankruptcy trustee sues as a representative of the estate of the bankrupt
 corporation, a New York court will look to the business entity’s principal place of business as
 the place where the entity “sustained the economic impact of the loss.”56 In this instance, the
 applicable jurisdiction is Minnesota, the principal place of business of ResCap.57

      New York’s statute of limitations for unjust enrichment and constructive trust claims is
 six years.58 “The statute of limitations for a claim of unjust enrichment begins to run




 54   See Woori Bank v. Merrill Lynch, No. 12 Civ. 3993(VM), 2013 WL 449912, at *3 (S.D.N.Y. Feb. 6, 2013)
      (citations omitted); see also McMahan & Co. v. Donaldson, Lufkin & Jenrette Sec. Corp., 727 F. Supp. 833,
      834 (S.D.N.Y. 1989) (“[I]n order to determine residence under the borrowing statute, we need to determine
      where its principal office is, or ‘where it conducts its day-to-day affairs’”); Pereira v. Cogan, No. 00 CIV.
      619(RWS), 2001 WL 243537, at *18 (S.D.N.Y. Mar. 8, 2001) (finding that a corporation’s state of residence,
      for purposes of the borrowing statute was New York, where it maintained its principal place of business);
      THC Holdings Corp. v. Chinn, No. 95 CIV. 4422(KMW), 1998 WL 50202, at *5 (S.D.N.Y. Feb. 6, 1998)
      (citing Shamrock Assocs. v. Sloane, 738 F. Supp. 109, 113 (S.D.N.Y. 1990)) (“The principal place of business
      determines residency under CPLR § 202.”); Brinckerhoff v. JAC Holding Corp., 263 A.D.2d 352, 352–353
      (N.Y. App. Div. 1999) (finding applicable statute of limitations for a derivative breach of fiduciary duty claim
      to be Georgia where the state of incorporation was Delaware, but the principal place of business was Georgia);
      Oxbow Calcining USA Inc. v. Am. Indus. Partners, 948 N.Y.S.2d 24, 31 (N.Y. App. Div. 2012).
 55   See THC Holdings Corp. v. Chinn, 1998 WL 50202, at *5 (S.D.N.Y. Feb. 06, 1998) (citing Besser v. E.R.
      Squibb & Sons, Inc., 146 A.D.2d 107 (N.Y. App. Div. 1989), aff’d, N.E.2d 171 (N.Y. 1990)); Oxbow, 948
      N.Y.S.2d 24, 31 (N.Y. App. Div. 2012).
 56   Official Comm. of Asbestos Claimants of G-I Holding, Inc. v. Heyman, 277 B.R. 20, 30 (S.D.N.Y. 2002); see
      also Adelphia Commc’ns Corp. v. Bank of Am. N.A. (In re Adelphia Commc’ns Corp.), 365 B.R. 24, 58 n.137
      (Bankr. S.D.N.Y. 2007).
 57   In Adelphia, the court compared the statute of limitations of New York to the limitations period in
      Pennsylvania, where the Adelphia debtors resided. In coming to its decision, the court rejected the argument
      that it should compare New York’s period to the limitations period in states where subsidiary debtors resided
      because there were “no allegations in the complaint that any Adelphia subsidiaries were under independent
      control, or directed by the [corporate owners] or anyone else in different states.” In re Adelphia Commn’cs
      Corp., 365 B.R. at 58 n.138.
 58   See Golden Pac. Bancorp v. Fed. Deposit Ins. Corp., 273 F.3d 509, 518 (2d Cir. 2001) (citations omitted)
      (“The statute of limitations in New York for claims of unjust enrichment . . . is generally six years.”); see also
      Bice v. Robb, 324 F. App’x 79, 81 (2d Cir. 2009) (citation omitted) (“New York law provides a six-year
      statute of limitations for breach of contract and constructive trust claims.”); Stewart v. Atwood, 834 F. Supp.
      2d 171, 182 (W.D.N.Y. 2012) (citation omitted) (“Since a cause of action for a constructive trust is one ‘for
      which no limitation is specifically prescribed by law,’ it is governed by New York’s six-year statute of
      limitations.”).

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 ‘upon the occurrence of the wrongful act giving rise to a duty of restitution.’”59 If another
 state’s statute of limitations was the same or longer, the Bankruptcy Court would apply the
 New York limitations period.

      Like New York’s, Minnesota’s statute of limitation is six years,60 beginning “when [the]
 damage occurs.”61 Because the statutes of limitations are the same in New York and
 Minnesota, the Bankruptcy Court will likely apply New York’s six-year statute of limitations
 to ResCap’s unjust enrichment or constructive trust claims.

                d. Explanation Of Examiner’s Conclusions

      During the course of the Investigation, the Examiner and the Examiner’s Professionals
 analyzed (1) the Ally Bank Transactions;62 and (2) AFI’s receipt of TARP funds, for any
 59   Golden Pac., 273 F.3d at 520 (quoting Congregation Yetev Lev D’Satmar, Inc. v. 26 Adar N.B. Corp., 596
      N.Y.S.2d 435, 437 (N.Y. App. Div. 1993)); see Cohen v. Cohen, 773 F. Supp. 2d 373, 396–97 (S.D.N.Y.
      2011) (noting that unjust enrichment claims are not subject to “discovery rule”), vacated on other grounds,
      Cohen v. S.A.C. Trading Corp., 711 F.3d 353 (2d Cir. 2013). There are conflicting authorities in New York
      suggesting that the time begins to run with respect to a constructive trust: (1) when the wrongful act occurs; or
      (2) when the party seeking the imposition of a constructive trust “should have known” of the wrongful act.
      Compare Two Clinton Square Corp. v. Friedler, 459 N.Y.S.2d 179, 181 (N.Y. App. Div. 1983) (“The statute
      of limitations for the purpose of imposing a constructive trust is six years and the action accrues when the
      party seeking to impose the trust knows or should have known of the wrongful withholding.”), with Stewart v.
      Atwood, 834 F. Supp. 2d 171, 182 (W.D.N.Y. 2012) (citation omitted) (holding that “accrual of a claim for
      constructive trust ‘runs from the occurrence of the wrongful act or event which creates a duty of
      restitution.’”). See also Auffermann v. Distl, 867 N.Y.S.2d 527, 528 (N.Y. App. Div. 2008) (citation omitted)
      (“A cause of action to impose a constructive trust is governed by a six-year statute of limitations and begins to
      accrue ‘upon the occurrence of the wrongful act giving rise to a duty of restitution and not from the time the
      facts constituting the fraud are discovered.’”).
 60   See Block v. Litchy, 428 N.W.2d 850, 854 (Minn. Ct. App. 1988) (“The applicable time limit for bringing an
      action in unjust enrichment is six years.”); see also MINN. STAT. ANN. § 541.05 (applying six-year statute of
      limitations (1) “upon a contract or other obligation, express or implied, as to which no other limitation is
      expressly prescribed”; and (2) “to enforce a trust”). One Minnesota court also deemed equitable relief to be
      available in unique circumstances, where the plaintiff and defendant had opposing claims to funds being held
      by a third-party law firm and neither had made a claim during the time available under the statute of
      limitations. The court allowed the claim for constructive trust to proceed although an analogous claim would
      be time-barred. Asha Enters. v. Peterson, 1999 Minn. App. LEXIS 29, at *7–8 (Minn. Ct. App. Jan. 12, 1999)
      (unpublished).
 61   Block, 428 N.W.2d at 854 (citation omitted).
 62   See Wilmington Trust Submission Paper, dated Mar. 8, 2013, at 59–60; see also id. at 45–52; Wilmington
      Trust, Motion for Standing to Pursue Claims and Complaint [Docket No. 3475] at 84–86 (alleging that AFI
      “hold’s [ResCap’s] interests in Ally Bank, including the proceeds of any sale of its mortgage assets, in
      constructive trust for the benefit of Residential Capital because [AFI] took such interests in violation of its
      promise not to engage in any material transaction with [ResCap] that would violate the Operating
      Agreement”). Wilmington Trust’s proposed claim for fraudulent conveyance based on an assertion that AFI
      holds ResCap’s “tax attributes under both the 2006 Tax Agreement and the 2009 Tax Amendment in
      constructive trust.” Id. at 45, is referenced in Section V.D. (discussing the Tax Agreement and Tax
      Amendment), and is outside the scope of the present discussion.

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 evidence of unjust enrichment by examining whether AFI received a benefit that in “equity
 and good conscience” it should not be permitted to retain and for which constructive trusts
 should be imposed. The Examiner’s conclusions follow.

                      (1) Whether A Constructive Trust Would Be Imposed Against AFI In
                          Connection With The Ally Bank Transactions

       Wilmington Trust’s proposed claim for a constructive trust to return ResCap’s interest in
 the mortgage division of Ally Bank63 is based on an assertion that “all or substantially all of
 [ResCap’s] assets were stripped away in furtherance of a pre-arranged plan of self-
 preservation instituted by AFI in response to the financial and mortgage crises,”64 resulting in
 AFI being unjustly enriched. Wilmington Trust alleges that the imposition of a constructive
 trust is proper because AFI and ResCap were “in a ‘confidential relationship’ at the time” of
 the Ally Bank Transactions “by virtue of [AFI’s] domination and control such that [AFI] owed
 an express or implied duty to [ResCap] not to gain an unfair advantage from such domination
 and control.”65

      In support of its constructive trust claim, Wilmington Trust alleges that AFI
 “orchestrated” the Ally Bank Transactions, which, according to Wilmington Trust, were
 “below-market, non-arm’s-length transactions that violated the Operating Agreement, and the
 Indenture.”66 Wilmington Trust further asserts that AFI was “responsible” for the transactions,
 and had “full knowledge that they would breach [ResCap’s] Operating Agreement and the
 Indenture.”67

       The Ally Bank Transactions consist of the 2006 Bank Restructuring, the 2008 Bank
 Transaction, and the 2009 Bank Transaction. As noted in Section V.A, ResCap did not receive
 reasonably equivalent value in connection with the 2006 Bank Restructuring, which suggests that
 AFI may have received a benefit that in equity and good conscience it should not be entitled to
 retain. However, because constructive trust is designed to address a gap that could be remedied by
 a contract if one existed, a court will not impose a constructive trust if an enforceable contract




 63   Wilmington Trust proposes that the Trustee bring a claim for breach of contract related to the Operating
      Agreement. Wilmington Trust Submission Paper, dated Mar. 8, 2013, at 46 n.11.
 64   Id. at 6; see also id. at 45.
 65   Wilmington Trust, Motion for Standing to Pursue Claims and Complaint [Docket No. 3475] at 85.
 66   Wilmington Trust Submission Paper, dated Mar. 8, 2013, at 45.
 67   Id. (stating “the Noteholders are express third-party beneficiaries to enforce the Operating Agreement”).

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 governs the parties’ relationship.68 Because the 2005 Operating Agreement69 and the indenture
 governing the Unsecured Notes70 controls the parties’ relationship, there can be no constructive
 trust.

      In regard to the 2008 Bank Transaction and the 2009 Bank Transaction, the Examiner has
 concluded that ResCap received reasonably equivalent value in exchange.71 Accordingly, AFI
 did not receive anything in connection with those transaction that in equity and good
 conscience it should not retain. Moreover, as noted, Wilmington Trust’s constructive trust
 claims are in essence claims for breach of contract for which damages is the proper remedy72
 and claims for unjust enrichment or constructive trust are not applicable.73

      Finally, “[i]t is hornbook law that before a constructive trust may be imposed, a claimant
 to a wrongdoer’s property must trace [its] own property into a product in the hands of the
 wrongdoer.”74 The “party asserting [the] existence of a constructive trust bears the burden [of
 proving] that a trust res exists.”75 Here, Wilmington Trust’s vague references to ResCap’s
 “Mortgage Division” does not adequately identify a discrete res which in equity and good
 conscience should be returned to ResCap.75

      Accordingly, the Examiner concludes that it is unlikely that a claim for the imposition of
 a constructive trust in connection with the Ally Bank Transactions would prevail.
 68   See Superintendent of Ins. v. Ochs (In re First Cent. Fin. Corp.), 377 F.3d 209, 213 (2d Cir. 2004) (holding
      that valid and enforceable contract precludes constructive trust); Petrello v. White, 412 F. Supp. 2d 215, 233
      (E.D.N.Y. 2006) (holding that because there was a valid, enforceable contract, “as a matter of law, the Court
      cannot impose a constructive trust”).
 69   See Section VII.L for a discussion of possible breach of contract claims arising from the 2006 Bank
      Restructuring.
 70   See Section VIII for a discussion of possible breach of indenture claims.
 71   See Section V.A.
 72   If a breach of contract claim were possible, the appropriate remedy would be damages. See In re First Central
      Fin. Corp., 377 F.3d at 212 (holding that valid and enforceable contract precludes constructive trust); Petrello,
      412 F. Supp. 2d at 232 (holding that because there was a valid, enforceable contract, “as a matter of law, the
      Court cannot impose a constructive trust”). See Section VII.L.1 for a discussion of whether the 2006 Bank
      Restructuring resulted in a breach of the 2005 Operating Agreement. See Section V.A for a discussion of the
      2008 and 2009 Bank Transactions.
 73   See In re First Central Fin. Corp., 377 F.3d at 212 (holding that valid and enforceable contract precludes
      constructive trust).
 74   United States v. Benitez, 779 F.2d 135, 140 (2d Cir. 1985) (citation omitted). Wilmington Trust suggests that
      Michigan law would apply to a TARP-related constructive trust claim. As discussed, the Bankruptcy Court
      may choose to apply the law of the forum (New York law) or the law where the property is located (Michigan
      law) to this constructive trust claim, as there is no substantive difference between the two states’ laws.
 75   Majutama v. Drexel Burnham Lambert Grp. (In re Drexel Burnham Lambert Grp., Inc.), 142 B.R. 633, 637
      (S.D.N.Y. 1992) (citation omitted).
 75   As discussed in Section V.A.2.e, the Examiner’s Financial Advisors concluded there was no equity value
      remaining in the Mortgage Bank after December 1, 2009 that could have been attributed to ResCap’s legacy
      equity interest in IB Finance.

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                    (2) Whether A Constructive Trust Would Be Imposed In Connection With AFI’s
                        Receipt and Retention Of TARP Funds

       The Troubled Asset Relief Program, also known as “TARP,” was created by the
 Emergency Economic Stabilization Act of 2008 (the “EESA”), to allow the U.S. Treasury “to
 purchase, and to make and fund commitments to purchase, troubled assets from any financial
 institution,”76 up to $700 billion in total. Ultimately, the U.S. Treasury invested $17.2 billion
 in AFI under TARP.77

      Wilmington Trust alleges that the TARP funds AFI received rightfully belong to ResCap
 and should be held in constructive trust for the benefit of ResCap’s estate.78 According to
 Wilmington Trust, AFI’s receipt of TARP funding likely was based on a showing of “overall
 financial weakness, lack of liquidity, and systemic risk to the banking system.”79 It argues that
 AFI relied on the stress of the mortgage business, including ResCap, to support its cause in
 obtaining TARP funds, and that ResCap was an intended beneficiary of the TARP funds
 although “in all cases, AFI kept the [TARP] installments for itself and provided only meager
 support to the Debtors.”80 Wilmington Trust proffers in support of its position a short and
 somewhat ambiguous e-mail exchange between Marano and Renzi as evidence that the first
 TARP installment of $5.7 billion “was supposed to go to” ResCap.81 The bulk of the evidence,
 however, suggests that the U.S. Treasury was focused on the automotive industry and not on
 ResCap.




 76   12 U.S.C. § 5211(a)(1). A “financial institution” is defined in the EESA to include, among other entities, any
      U.S. “bank, savings association, credit union, security broker or dealer, or insurance company.” 12 U.S.C. §
      5202(5).
 77   U.S. TREASURY, OFFICE OF FINANCIAL STABILITY, TROUBLED ASSET RELIEF PROGRAM, FOUR YEAR
      RETROSPECTIVE REPORT, AN UPDATE ON THE WIND-DOWN OF TARP, March 2013, at 17, http://
      www.treasury.gov/initiatives/financial-stability/reports/Documents/TARP%20Four%20Year%20Retrospectiv
      e%20Report.pdf.
 78   Wilmington Trust Submission Paper, dated Mar. 8, 2013, at 51; see also Wilmington Trust, Motion for
      Standing to Pursue Claims and Complaint [Docket No. 3475] at 89–90.
 79   Wilmington Trust Submission Paper, dated Mar. 8, 2013, at 51; see also Wilmington Trust, National
      Association, Motion for Standing to Pursue Claims and Complaint [Docket No. 3475] at 89–90.
 80   Wilmington Trust Submission Paper, dated Mar. 8, 2013, at 51; see also Wilmington Trust, Motion for
      Standing to Pursue Claims and Complaint [Docket No. 3475] at 89–90.
 81   Wilmington Trust Submission Paper, dated Mar. 8, 2013, at 51; see also Wilmington Trust, Motion for
      Standing to Pursue Claims and Complaint [Docket No. 3475] at 89–90.

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                         (a) ResCap Did Not Apply For TARP
       ResCap was interested in obtaining TARP funds and prepared a lengthy proposal to the
 U.S. Treasury, but never completed the process.82 As discussed in Section III.H, Marano
 raised the possibility of TARP funding with the ResCap Board in October 2008 and indeed
 discussed a possible $5 billion injection under TARP with one or more U.S. Treasury officials.
 Initially, Marano was unaware that AFI was making a similar request.83 Marano stopped
 pursuing TARP funds for ResCap when he learned that AFI and Cerberus did not view it as
 productive to have both ResCap and AFI pursuing TARP funding.84
                         (b) Congressional Oversight Panel Report
       On March 10, 2010, the Congressional Oversight Panel issued a report entitled The
 Unique Treatment of GMAC Under the TARP, which criticized the U.S. Treasury’s initial and
 subsequent decisions to support AFI.85 The report notes that supporting or saving ResCap was
 not part of the rationale for providing TARP funds to AFI. The report states that “while
 ResCap was once a profitable venture for [AFI], and ResCap holds significant market shares
 in both the mortgage origination and mortgage servicing sectors, there has been no suggestion
 that the disruption of these businesses caused by a bankruptcy would have any direct systemic
 effect.”86 The report explains that the “Treasury has stated that . . . it regarded ResCap as
 ‘marginal, at best’ as a factor in the decision to support [AFI].”87 Further, the report states that
 the U.S. Treasury “defends its assistance to [AFI] as crucial to supporting its extensive
 investments in GM and Chrysler, which, in turn, were made for a variety of reasons, including
 the fear of shock to the economy—perhaps rising to the level of systemic risk if the domestic
 82   See ResCap: Proposal for the TARP [CCM00012373].
 83   See e-mail from T. Marano to N. Kashkari (Oct. 22, 2008) (“As we discussed, I believe it will take an equity
      investment of approximately $5 billion dollars [sic] to recapitalize ResCap and provide stability for the next
      24 months . . . . [A]n investment of $3 billion would provide needed capital through 2009 as we work to find
      additional partners to preserve our platform.”) [CCM00012371]. According to Marano, however, he
      intentionally inflated the $5 billion estimate by as much as $3 billion, to account for anticipated “horse-
      trading.” Int. of T. Marano, Nov. 26, 2012, at 206:8–23.
 84   See, e.g., id at 22:2–14 (“And so at one point [in the Fall of 2008], unbeknownst to me, [AFI], the parent, was
      asking for assistance from TARP. I was asking for assistance from TARP . . . . And then actually, I found out
      Cerberus was looking for assistance as well for the combined outfit. That was a very memorable moment
      when I found out all three of us were seeking assistance from some of the same people.”); id. at 24:9–15 (“[I]t
      was logical that the parent would be the one that would be seeking support. And so I made sure the parent
      knew everything that I was aware of that we needed and what the challenges were so that the parent could
      seek the support.”); see also Minutes of a Special Meeting of the Board of Residential Capital, LLC, Oct. 17,
      2008, at RC40005885 (“Mr. Marano mentioned that he is working with Cerberus and with Morrison &
      Foerster on a term sheet to use in communicating to the Treasury Department for participation in the TARP
      program.”) [RC40005652].
 85   CONGRESSIONAL OVERSIGHT PANEL, MARCH OVERSIGHT REPORT: THE UNIQUE TREATMENT OF GMAC
      UNDER THE TARP (Mar. 10, 2010), at 78–79, http://purl.access.gpo.gov/GPO/LPS123013; see also
      CONGRESSIONAL OVERSIGHT PANEL, JANUARY OVERSIGHT REPORT: AN UPDATE ON TARP SUPPORT FOR
      THE DOMESTIC AUTOMOTIVE INDUSTRY, (Jan. 13, 2011), at 71, http://purl.fdlp.gov/GPO/gpo5490.
 86   CONGRESSIONAL OVERSIGHT PANEL, MARCH OVERSIGHT REPORT, at 67.
 87   Id.

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auto industry were to fail,”88 and that AFI’s “automotive finance operations . . . would have the
most impact on the U.S. economy if [AFI]were to be allowed to fail.”89 There is no evidence that if
AFI had not requested TARP funds, the U.S. Treasury would have instead given those funds to
ResCap.

                     (c) U.S. Treasury’s Office Of Financial Stability Report

     A March 2013 report from the U.S. Treasury’s Office of Financial Stability underscores that
the government’s interest was in the automotive side of AFI’s business, and not in saving ResCap.

                  Treasury also made a $17.2 billion investment in [AFI] under TARP.
                  The company has been the primary source of financing for GM’s
                  dealers and consumers for more than 90 years. Subsequently, after
                  Treasury’s investment, [AFI] became a primary source of financing
                  for Chrysler dealers. Supporting [AFI] made it possible for GM and
                  Chrysler dealers to continue providing car loans to their customers
                  and secure financing to run their businesses during the financial
                  crisis.90

The report also notes:

                  As of December 31, 2012, Treasury had recovered approximately
                  one-third ($5.8 billion) of its original $17.2 billion investment.
                  Treasury expects to begin monetizing its remaining investment as the
                  company completes two critical strategic initiatives: the Chapter 11
                  proceeding for its mortgage subsidiary, Residential Capital, LLC
                  (ResCap) and the sale of its international auto finance operations. In
                  November 2012, Ally announced that it had reached an agreement to
                  sell its remaining international operations and that it expected total
                  proceeds from those transactions of $9.2 billion.91

     As discussed above, unjust enrichment is a fundamental prerequisite to the imposition of
constructive trust. There is, however, no evidence that AFI was unjustly enriched by TARP at
ResCap’s expense. Indeed, it would not be against equity and good conscience to permit AFI to
retain the funds.




88   Id. at 66.
89   Id. at 67.
90   U.S. TREASURY, OFFICE OF FINANCIAL STABILITY, TROUBLED ASSET RELIEF PROGRAM, FOUR YEAR
     RETROSPECTIVE REPORT, AN UPDATE ON THE WIND-DOWN OF TARP, March 2013, at 17, http://www.treasury.gov/
     initiatives/financial-stability/reports/Documents/TARP%20Four%20Year%20Retrospective%20Report.pdf.
91   Id.

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      The three TARP installments were paid to AFI directly by the U.S. Treasury and they
 were not conditioned upon AFI turning the funds over to ResCap. Further, the evidence
 reflects that AFI’s receipt of TARP funds was a by-product of the U.S. government’s interest
 in rescuing GM and Chrysler, not ResCap. ResCap has no identifiable interest in the TARP
 funds. Had AFI not applied for TARP funding, there is no evidence that the U.S. Treasury
 would have provided that funding to ResCap.

       Based on the foregoing, the Examiner concludes that it is unlikely that a constructive
 trust claim premised on the TARP funding received by AFI would prevail.




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